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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEBRASKA
                                 LINCOLN DIVISION

CATHERINE PALMER, individually and on            )   CASE NO. 4:19-cv-03084-JMG-MDN
behalf of others similarly situated,             )
                                                 )   JUDGE JOHN M. GERRARD
                      Plaintiff,                 )
       vs.                                       )   DEFENDANT KCI USA, INC.’S
                                                 )   MOTION TO STAY
KCI USA, INC.,                                   )
                      Defendant.                 )

       Defendant KCI USA, Inc. moves the Court for an order staying all proceedings pending

the decision of the Supreme Court of the United States in Facebook, Inc. v. Duguid for the reasons

given in the Brief in Support, which is attached hereto and incorporated herein by reference.



                                            Respectfully submitted

                                            /s/ Eric Larson Zalud
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                                CERTIFICATE OF SERVICE

        This is to certify that on September 10, 2020, the foregoing Defendant KCI USA, Inc.’s

Motion To Stay was filed electronically in accordance with the Court’s Electronic Filing

Guidelines. Notice of this filing will be sent to all parties by operation of the Court’s electronic

case filing system.

                                                     /s/ Eric Larson Zalud
                                                     Eric Larson Zalud
                                                     Attorney for Defendant KCI USA, Inc.




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